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        NOTE: This disposition is nonprecedential.


   United States Court of Appeals
       for the Federal Circuit
                 ______________________

                   LARRY GOLDEN,
                   Plaintiff-Appellant

                            v.

                   UNITED STATES,
                   Defendant-Appellee
                 ______________________

                       2024-2256
                 ______________________

     Appeal from the United States Court of Federal Claims
 in No. 1:23-cv-00811-EGB, Senior Judge Eric G. Bruggink.
                  ______________________

                 Decided: March 24, 2025
                 ______________________

    LARRY GOLDEN, Greenville, SC, pro se.

      GRANT DREWS JOHNSON, Commercial Litigation
 Branch, Civil Division, United States Department of Jus-
 tice, Washington, DC, for defendant-appellee. Also repre-
 sented by SCOTT DAVID BOLDEN, BRIAN M. BOYNTON,
 CONRAD JOSEPH DEWITTE, JR.
                 ______________________
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 2                                                GOLDEN v. US




     Before MOORE, Chief Judge, CHEN, Circuit Judge, and
                     BARNETT, Judge. 1
 PER CURIAM.
     Larry Golden appeals from a decision by the United
 States Court of Federal Claims (Claims Court), which dis-
 missed his patent infringement claims against the United
 States (government) and denied his motion for disqualifi-
 cation. See Golden v. United States, 171 Fed. Cl. 33 (2024)
 (Order). For the following reasons, we affirm.
                         BACKGROUND
     Mr. Golden “owns a family of patents concerning a sys-
 tem for locking, unlocking, or disabling a lock upon the de-
 tection of chemical, radiological, and biological hazards.”
 Golden v. United States, No. 2022-1196, 2022 WL 4103287,
 at *1 (Fed. Cir. Sept. 8, 2022) (per curiam) (Golden I). At
 issue are three patents in that family, U.S. Patent Nos.
 10,163,287 (’287 patent), 9,589,439 (’439 patent), and
 9,096,189 (’189 patent).
     Mr. Golden first brought suit against the government
 under 28 U.S.C § 1498 in May 2013, “alleging that the De-
 partment of Homeland Security infringed his patents by
 soliciting proposals for the development of cellular devices
 through its ‘Cell-All’ initiative.” Golden I, 2022 WL
 4103287, at *1. He alleged that certain cellular devices
 manufactured by Apple, Samsung, and LG for the Cell-All
 initiative infringed his patents. In 2021, following a series
 of amended complaints, the Claims Court dismissed
 Mr. Golden’s complaint with prejudice for “fail[ing] to cor-
 rect . . . previously-identified deficiencies” in his infringe-
 ment contentions. Id. We affirmed.




      1  Honorable Mark A. Barnett, Chief Judge, United
 States Court of International Trade, sitting by designation.
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     Mr. Golden then brought the present suit against the
 government in May 2023, once again alleging patent in-
 fringement under 28 U.S.C. § 1498. 2 SAppx. 1100–01.3 He
 asserted three of the same patents that he already asserted
 in Golden I, and again alleged that certain cellular devices
 of various manufacturers infringed his patents. But this
 time, his complaint focused on a different governmental
 program and on different devices. He also filed a motion to
 disqualify the Claims Court judge.
      The Claims Court dismissed Mr. Golden’s complaint
 for failure to state a claim based on claim preclusion and
 the Kessler doctrine. Order, 171 Fed. Cl. at 36–37. It also
 denied Mr. Golden’s motion to disqualify. Id. at 35, 37.
                         DISCUSSION
     We review de novo a decision to dismiss a complaint for
 failure to state a claim under Rule 12(b)(6) of the United
 States Court of Federal Claims. Kam-Almaz v. United
 States, 682 F.3d 1364, 1368 (Fed. Cir. 2012). We review a
 denial of a motion to disqualify for abuse of discretion. See
 Shell Oil Co. v. United States, 672 F.3d 1283, 1288 (Fed.
 Cir. 2012).
    Mr. Golden timely appeals both the dismissal of his
 complaint and the denial of his motion to disqualify. We
 have jurisdiction under 28 U.S.C. § 1295(a)(3).




     2   Between Golden I and the present suit, Mr. Golden
 brought two other suits, not at issue here. See Order, 171
 Fed. Cl. at 34 & n.2.
     3   “SAppx.” refers to the supplemental appendix filed
 with the government’s informal response brief.
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                               I
     Mr. Golden first contends that his present suit is not
 precluded. We disagree.
      “Generally, claim preclusion applies where: (1) the
 parties are identical or in privity; (2) the first suit pro-
 ceeded to a final judgment on the merits; and (3) the second
 claim is based on the same set of transactional facts as the
 first.” First Mortg. Corp. v. United States, 961 F.3d 1331,
 1338 (Fed. Cir. 2020) (cleaned up). It “bars both claims
 that were brought as well as those that could have been
 brought.” Brain Life, LLC v. Elekta Inc., 746 F.3d 1045,
 1053 (Fed. Cir. 2014) (emphasis omitted).
     Mr. Golden does not dispute that Golden I involved the
 same parties as here—himself and the government. See
 2022 WL 4103287, at *1. Nor does Mr. Golden challenge
 that Golden I’s dismissal with prejudice operated as a final
 judgment on the merits. See Hallco Mfg. Co. v. Foster, 256
 F.3d 1290, 1297 (Fed. Cir. 2001) (“[A] dismissal with prej-
 udice . . . is a judgment on the merits.”). Mr. Golden does,
 however, seem to dispute whether his current action is
 based on the same set of transactional facts as Golden I.
     In making such a determination, we have observed
 that “in a patent case, the alleged infringer must demon-
 strate that the accused product or process is ‘essentially the
 same’ as the accused product or process in the first litiga-
 tion.” Brain Life, 746 F.3d at 1053 (quoting Nystrom v.
 Trex Co., 580 F.3d 1281, 1285 (Fed. Cir. 2009)). Mr. Golden
 himself has repeatedly treated the Google devices4 accused
 in the present action as “the same” as the accused devices
 in Golden I. SAppx. 1104 ¶ 17. In the present complaint,


     4   Both the Claims Court’s order and the government
 understood Mr. Golden’s complaint to be accusing only
 Google devices. Mr. Golden does not contest that charac-
 terization on appeal.
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 for example, he compared certain features of the currently
 accused devices to analogous features in the accused de-
 vices in the earlier litigation. Id. at 1104 ¶ 17, 1120–27.
 As a result of that comparison, he asserted that the “al-
 leged infringing products” “all have virtually identical ele-
 ments.” Id. at 1104 ¶ 17. On appeal, Mr. Golden does not
 provide an explanation for how or why the accused Google
 devices differ from the accused devices in Golden I. We ac-
 cordingly agree with the Claims Court that claim preclu-
 sion bars Mr. Golden’s allegations of infringement based on
 Google devices, to the extent that those infringing actions
 predated the Golden I judgment.
     Mr. Golden seems to contend that claim preclusion can-
 not apply because some of his patents were granted after
 the Golden I judgment. But these newly-issued patents
 which Mr. Golden refers to—U.S. Patent Nos. 10,984,619
 and 11,645,898—are not the basis of his complaint. His
 complaint in the present suit asserted only the ’287 patent,
 the ’439 patent, and the ’189 patent, see SAppx. 1101, all of
 which were asserted in Golden I, see SAppx. 1135.
     Mr. Golden also suggests that claim preclusion cannot
 apply because we previously vacated the dismissal of his
 complaint in a different case. See Golden v. Apple, No.
 2022-1229, 2022 WL 4103285, at *2 (Fed. Cir. Sept. 8,
 2022) (per curiam). But in that case, we merely found that
 some of Mr. Golden’s allegations in his complaint were “not
 facially frivolous.” Id. That his allegations in a prior case
 passed muster under Rule 12(b)(6) says nothing about
 whether his present allegations are barred under claim
 preclusion. We therefore agree with the Claims Court that
 claim preclusion bars Mr. Golden’s claim to the extent it
 alleges infringement occurring prior to the Golden I judg-
 ment.
     That still leaves open Mr. Golden’s infringement alle-
 gations against products made or sold after the date of the
 Golden I judgment. And although “claim preclusion do[es]
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 not apply when a patentee accuses new acts of infringe-
 ment, i.e., post-final judgment, in a second suit,” “[t]here
 exists a separate and distinct doctrine, known as the Kess-
 ler Doctrine, that precludes some claims that are not oth-
 erwise barred by claim or issue preclusion.” Brain Life, 746
 F.3d. at 1055–56. When accused devices in an earlier suit
 are “essentially the same” as devices in the present suit,
 but the alleged infringement postdates that of the earlier
 suit, the Kessler doctrine bars a patentee from asserting
 the same patents against the currently accused devices.
 See Wis. Alumni Rsch. Found. v. Apple Inc., 112 F.4th
 1364, 1384–85 (Fed. Cir. 2024) (“[W]hen the devices in the
 first and second suits are ‘essentially the same,’ the ‘new’
 product(s) also acquires the status of a noninfringing de-
 vice vis-à-vis the same accusing party or its privies.” (quot-
 ing Brain Life, 746 F.3d at 1057)). Mr. Golden himself, as
 explained above, alleged that all the accused devices “all
 have virtually identical elements.” SAppx. 1104 ¶ 17. He
 offers no explanation, either in his filings at the Claims
 Court or in his opening brief, as to how the post-Golden I-
 judgment accused devices differ from the devices at issue
 in Golden I.
     The Claims Court therefore correctly dismissed
 Mr. Golden’s complaint.
                               II
     We next address Mr. Golden’s motion for disqualifica-
 tion. Mr. Golden contends that the Claims Court judge
 should have recused himself because of “racial bias and
 bias in favor of the Government.” Appellant’s Informal Re-
 ply Br. 12. Yet aside from that conclusory contention,
 Mr. Golden has offered no explanation or evidence of any
 bias. See Charron v. United States, 200 F.3d 785, 788 (Fed.
 Cir. 1999). Moreover, to the extent that Mr. Golden thinks
 that past adverse rulings by the Claims Court evinces bias,
 we have previously observed that “judicial rulings almost
 never constitute a valid basis for a bias or partiality
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 motion.” Micro Chem., Inc. v. Lextron, Inc., 318 F.3d 1119,
 1126 (Fed. Cir. 2003) (citation omitted). The Claims Court
 judge accordingly did not abuse his discretion by denying
 the motion.
                        CONCLUSION
    We have considered Mr. Golden’s remaining argu-
 ments and find them unpersuasive. We therefore affirm.
                       AFFIRMED
                           COSTS
 No costs.
